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               IN THE UNITED STATES DISTRICT COURT
             FOR THE CENTRAL DISTRICT OF CALIFORNIA

                                      )
 MARK ANTHONY RILEY                   )   Civil Action No.:
                                      )   8:19-cv-00841-JVS-JDE
       Plaintiff,                     )
                                      )
 v.                                   )   FIRST AMENDED COMPLAINT FOR
                                      )   VIOLATION OF FAIR CREDIT
                                      )   REPORTING ACT
 ACCURATE                             )
 BACKGROUND LLC.                      )   DEMAND FOR JURY TRIAL
                                      )
       Defendant.                     )
                                      )
                                      )
                                      )
                                      )

                             Preliminary Statement

      1.     This is an action for damages brought by an individual consumer against

the Defendant for violations of the Fair Credit Reporting Act (hereafter the “FCRA”),

15 U.S.C. §1681 et seq., as amended. Under the FCRA, “consumer reports” subject

to the statute’s protections include not simply those used in establishing the
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consumer’s eligibility for credit, but also those used for “employment purposes.” 15

U.S.C. § 1681a(d)(1)(B).

      2.     The FCRA was enacted “to insure that consumer reporting agencies

exercise their grave responsibilities with fairness, impartiality, and a respect for the

consumer’s right to privacy,” 15 U.S.C. § 1681(a)(4), by operating “in a manner

which is fair and equitable to the consumer, with regard to the confidentiality,

accuracy, relevancy” of the consumer information they disseminate. 15 U.S.C. §

1681(b). Congress included in the statutory scheme a series of protections that

impose strict procedural rules on consumer reporting agencies such as Accurate

Background LLC (“Accurate”). This action involves Defendant’s systematic

violation of several of those important rules.

                                   II.   PARTIES

      3.     Plaintiff Mark Anthony Riley is an adult individual who resides in

Memphis, Tennessee.

      4.     Defendant Accurate is a business entity that regularly conducts

business in the Northern District of California and has principal places of business

located at 7515 Irvine Center Drive, Irvine, California 92618.

                      III.   JURISDICTION AND VENUE

      5.     Jurisdiction of this Court arises under 15 U.S.C. § 1681p, 28 U.S.C.
§1331, 1337.
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      6.     Venue lies properly in this district pursuant to 28 U.S.C. §1391(b).

                          IV.     STATEMENT OF FACTS

      7.     Defendant has been reporting derogatory and inaccurate statements

and information relating to Plaintiff and Plaintiff’s background to third parties

(hereafter the “inaccurate information”).

      8.     The inaccurate information includes, but is not limited to, both a false

criminal history labeling the Plaintiff as having multiple felonies and misdemeanors

and personal identifying information.

      9.     The inaccurate information negatively reflects upon the Plaintiff and

misidentifies Plaintiff as a person who has a criminal background. It appears that

Defendant, as a result of its unreasonable faulty procedures, produced a consumer

report that identified Plaintiff as having been charged with felonies and convicted of

multiple misdemeanors when Plaintiff has no criminal history. Defendant mixed the

background information of Plaintiff and that of another consumer with respect to the

inaccurate information, criminal history and other personal identifying information.

      10.    Defendant has been reporting the inaccurate information through the

issuance of false and inaccurate background information and consumer reports that

they have disseminated to various persons and prospective employers, both known

and unknown.

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      11.    Plaintiff has applied for and has been denied employment opportunities,

including but not limited to, employment opportunities with Soldier Trucking.

Plaintiff has been informed that the basis for these denials was the inaccurate

information that appears on Plaintiff’s consumer report with Defendant and that the

inaccurate information was a substantial factor for those denials.

      12.    Plaintiff’s consumer reports and file have been obtained from

Defendant and have been reviewed by prospective employers, and the inaccurate

information has been a substantial factor in precluding Plaintiff from receiving

employment opportunities, known and unknown.

      13.    As a result of Defendant’s conduct, Plaintiff has suffered actual

damages in the form of lost employment opportunity, harm to reputation, and

emotional distress, including anxiety, frustration, humiliation and embarrassment.

      14.    At all times pertinent hereto, Defendant was acting by and through its

agents, servants and/or employees who were acting within the course and scope of

their agency or employment, and under the direct supervision and control of the

Defendant herein.

      15.    At all times pertinent hereto, the conduct of the Defendant as well as

that of its agents, servants and/or employees, was intentional, willful, reckless,

negligent, and in grossly negligent disregard for federal and state laws and the rights

of the Plaintiff herein.
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                           V.      CAUSES OF ACTION

                                COUNT ONE - FCRA

      16.     Plaintiff re-alleges and incorporates by reference all preceding

allegations. Accurate is a “consumer reporting agency,” as defined by FCRA, 15

U.S.C. § 1681a(f).

      17.     At all times pertinent hereto, the Plaintiff was a “consumer” as that

term is defined by 15 U.S.C. § 1681a(c).

      18.     At all times pertinent hereto, the above-mentioned background report

was a “consumer report” as that term is defined by 15 U.S.C. § 1681a(d).

      19.     Accurate violated 15 U.S.C. §1681e(b) by failing to establish or to

follow reasonable procedures to assure maximum possible accuracy in the

preparation of Plaintiff’s background report and the files it published and

maintained.

      20.     As a result of Accurate’s violations of 15 U.S.C. §1681e(b), Plaintiff

suffered actual damages including but not limited to: loss of employment income

and benefits, damage to reputation, embarrassment, humiliation and other mental,

physical and emotional distress.

      21.     The violations by Accurate were willful, rendering Defendant liable for

punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C.



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§1681n. In the alternative, Accurate was negligent, which entitles Plaintiff to

recovery under 15 U.S.C. §1681o.

      22.   Plaintiff is entitled to recover punitive damages, actual damages,

statutory damages, costs and attorney’s fees from Accurate in an amount to be

determined by the Court pursuant to 15 U.S.C. §1681n and §1681o.

                                   1. Jury Trial Demand

      23.   Plaintiff demands trial by jury on all issues so triable.

      WHEREFORE, Plaintiff seeks judgment in Plaintiff’s favor and damages

against Defendant Accurate, for the following requested relief:

      A.    Actual damages;

      B.    Statutory damages;

      C.    Punitive damages;

      D.    Costs and reasonable attorney’s fees pursuant to 15 U.S.C. §§ 1681n

and 1681o; and

      E.    Such other and further relief as may be necessary, just and proper.




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                                      Respectfully submitted,



                                   By: /s/ Stephanie R. Tatar
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Dated: May 8, 2019




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